                    EXHIBIT A

Arizona-Chevron Litigation Docket (8/15 – 9/3/2021)
CM/ECF - azd                                          https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?142960718684191-L_1_0-1


                                                                                              STAY-CASE,STD

                                         U.S. District Court
                               DISTRICT OF ARIZONA (Phoenix Division)
                             CIVIL DOCKET FOR CASE #: 2:21-cv-00575-DJH


         Kraft v. Chevron Corporation et al                      Date Filed: 04/02/2021
         Assigned to: Judge Diane J Humetewa                     Jury Demand: None
         Related Cases: 2:19-cv-05181-JJT                        Nature of Suit: 470 Other Statutes:
                        2:19-cv-05697-JJT                        Racketeer/Corrupt Organization
                        2:20-cv-01491-DLR                        Jurisdiction: Federal Question
                        2:20-cv-02004-SPL
                        2:21-cv-00154-SMB
         Cause: 18:1961 Racketeering (RICO) Act
         Plaintiff
         Rune Kraft                               represented by Rune Kraft
                                                                 108 W 13th St.
                                                                 Wilmington, DE 19801
                                                                 302-408-1000
                                                                 Email: rk@kraft.legal
                                                                 PRO SE


         V.
         Defendant
         Chevron Corporation                      represented by Edward F Fernandes
         a Delaware corporation                                  King & Spalding LLP - Austin, TX
                                                                 500 W 2nd St., Ste. 1800
                                                                 Austin, TX 78701
                                                                 512-297-6921
                                                                 Email: efernandes@kslaw.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                 Erich J Almonte
                                                                 King & Spalding LLP - Houston, TX
                                                                 1100 Louisiana, Ste. 4000
                                                                 Houston, TX 77002-5213
                                                                 713-276-7378
                                                                 Email: ealmonte@kslaw.com
                                                                 LEAD ATTORNEY
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         Defendant




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         Valley Pacific Petroleum Services        represented by Brett T Abbott
         Incorporated                                            Gubler & Abbott
         a California corporation                                1110 N Chinowth St.
         TERMINATED: 07/07/2021                                  Visalia, CA 93291
                                                                 559-625-9600
                                                                 Fax: 559-625-9605
                                                                 Email: brett@thecalifornialawyers.com
                                                                 LEAD ATTORNEY
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         Defendant
         Valley Pacific Petroleum Systems         represented by Brett T Abbott
         Incorporated                                            (See above for address)
         a California corporation                                LEAD ATTORNEY
         TERMINATED: 07/07/2021                                  PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

         Defendant
         French Camp LLC                          represented by Brett T Abbott
         a California limited liability company                  (See above for address)
         TERMINATED: 07/07/2021                                  LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

         Defendant
         Valley Pacific Investments
         a California based business entity
         TERMINATED: 07/07/2021

         Defendant
         Silvas Oil Company Incorporated
         a California corporation
         TERMINATED: 07/07/2021

         Defendant
         Acclaim Credit Technologies
         a Califronia corporation
         TERMINATED: 07/07/2021

         Defendant
         Cunningham & Associates Real Estate
         LLC
         an Arizona limited liability company

         Defendant
         Burr Commercial Properties
         a California corporation
         TERMINATED: 07/07/2021



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         Defendant
         International Credit Recovery
         Incorporated
         a California company
         TERMINATED: 07/07/2021

         Defendant
         W.R. Grace & Company                     represented by Justin Donald Balser
         a Connecticut company                                   Akerman LLP - Denver, CO
                                                                 1900 16th St., Ste. 1700
                                                                 Denver, CO 80202
                                                                 303-260-7712
                                                                 Fax: 303-260-7714
                                                                 Email: justin.balser@akerman.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

         Defendant
         Mitchell Brown General Engineering
         Incorporated
         a California company
         TERMINATED: 07/07/2021

         Defendant
         San Joaquin Sand & Gravel
         a California company
         TERMINATED: 07/07/2021

         Defendant
         Kaweah River Rock Company
         a California business entity

         Defendant
         California State Board of Equalization
         an entity of the State of California
         TERMINATED: 07/07/2021

         Defendant
         Tulare County Superior Court
         an entity of the State of California
         TERMINATED: 07/07/2021

         Defendant
         ORIX Financial Services Incorporated     represented by Brian Schulman
         a New York company                                      Ballard Spahr LLP - Phoenix, AZ
                                                                 1 E Washington St., Ste. 2300
                                                                 Phoenix, AZ 85004-2555
                                                                 602-798-5419
                                                                 Fax: 602-798-5595



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                                                                 Mitchell Lee Turbenson
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         Defendant
         James Oliver
         a California resident
         TERMINATED: 07/07/2021

         Defendant
         Alroy J Oliver
         a California resident
         TERMINATED: 07/07/2021

         Defendant
         Richard D Oliver
         a California resident
         TERMINATED: 07/07/2021

         Defendant
         Larry P Oliver
         a California resident
         TERMINATED: 07/07/2021

         Defendant
         Eric M Black LLC
         a California limited liability company
         TERMINATED: 07/07/2021

         Defendant
         Cemex Incorporated                       represented by Cory L Braddock
         a Louisiana corporation                                 Snell & Wilmer LLP - Phoenix, AZ
                                                                 1 Arizona Center
                                                                 400 E Van Buren
                                                                 Phoenix, AZ 85004-2202
                                                                 602-382-6000
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         Defendant
         Lehigh Hanson Incorporated   represented by Jacob R Sorensen
         a Delaware corporation                      Pillsbury Winthrop Shaw Pittman LLP -
                                                     San Francisco, CA
                                                     4 Embarcadero Ctr., 22nd Fl.
                                                     San Francisco, CA 94111
                                                     415-983-1893
                                                     Fax: 415-983-1200
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                                                     John R Grenfell
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                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

         Defendant



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         Unknown Parties
         named as: DOES 1-10 (Inclusive)
         TERMINATED: 07/07/2021


         Date Filed      #   Docket Text
         08/16/2021     62 REPLY to Response to Motion re: 19 MOTION to Dismiss Case filed by Chevron
                           Corporation. (Fernandes, Edward) (Entered: 08/16/2021)
         08/16/2021     63 REPLY to Response to Motion re: 26 MOTION to Dismiss for Lack of
                           JurisdictionMOTION to Dismiss for Failure to State a Claim Reply in Support of Lehigh
                           Hanson, Inc.s Motion to Dismiss Complaint for Lack of Personal Jurisdiction, Improper
                           Venue, and Failure to State a Claim (Fed. R. Civ. P. 12(B)(2), (3), (6)) filed by Lehigh
                           Hanson Incorporated. (Sorensen, Jacob) (Entered: 08/16/2021)
         08/16/2021     64 * MOTION for Leave to File Surreply re: 19 Motion to Dismiss Case by Rune Kraft.
                           (Attachments: # 1 Exhibit Surreply Memorandum in Opposition to Defendant Chevron
                           Corporation's Motion to Dismiss)(Kraft, Rune) *Modified to correct reference to related
                           document on 8/17/2021 (MFR). (Entered: 08/16/2021)
         08/16/2021     65 *REPLY to Response to Motion re: 29 MOTION to Dismiss for Failure to State a Claim
                           filed by CEMEX Incorporated. (Farhat, Vince) *Modified to reflect correct filers on
                           8/17/2021 (MFR). (Entered: 08/16/2021)
         08/16/2021     66 REPLY re: 30 Request re: JUDICIAL NOTICE by Defendant Cemex Incorporated.
                           (Farhat, Vince) (Entered: 08/16/2021)
         08/17/2021     67 *MOTION for Leave to File Surreply re: 26 Motion to Dismiss by Rune Kraft.
                           (Attachments: # 1 Exhibit Surreply Memorandum in Opposition to Defendant Lehigh
                           Hanson's Motion to Dismiss)(Kraft, Rune) *Modified to correct reference to related
                           document on 8/18/2021 (MFR). (Entered: 08/17/2021)
         08/17/2021     68 *MOTION for Leave to File Surreply re: 68 MOTION to Dismiss for Failure to State a
                           Claim by Rune Kraft. (Attachments: # 1 Exhibit Surreply Memorandum in Opposition
                           to Defendant Cemex's Motion to Dismiss)(Kraft, Rune) *Modified to correct reference
                           to related document on 8/18/2021 (MFR). (Entered: 08/17/2021)
         08/17/2021     69 *MOTION for Leave to File Surreply re: 30 MOTION for Judicial Notice in Support of
                           Defendant Cemex Inc.'s Motion to Dismiss Complaint re: 29 Motion to Dismiss for
                           Failure to State a Claim by Rune Kraft. (Attachments: # 1 Exhibit Surreply
                           Memorandum in Opposition to Defendant Cemex's Request for Judicial Notice)(Kraft,
                           Rune) *Modified to correct reference to related document on 8/18/2021 (MFR).
                           (Entered: 08/17/2021)
         08/23/2021     70 ORDER: This matter is before the Court on a number of Motions (Docs. 24 ; 33 ; 64 ;
                           67 ; 68 ; 69 ). Plaintiff does not establish grounds for the Court to allow him to file Sur-
                           Replies. Moreover, the Court previously ordered that Plaintiff may not file additional
                           documents while this matter is stayed (Doc. 60 ). Therefore, IT IS ORDERED the
                           Motions (Docs. 64 ; 67 ; 68 ; 69 ) are denied. Additionally, Plaintiff moves to withdraw
                           his previous Motion to Substitute (Doc. 33 ). IT IS FURTHER ORDERED granting the
                           Motion (Doc. 33 ) and the Motion to Substitute (Doc. 24 ) is stricken. ORDERED by
                           Judge Diane J Humetewa on 8/23/2021. This is a TEXT ENTRY ONLY. There is no
                           PDF document associated with this entry. (LFIG) (Entered: 08/23/2021)



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         08/23/2021   71 REPLY to Response to Motion re: 23 MOTION to Dismiss for Lack of Jurisdiction
                         MOTION to Dismiss for Failure to State a Claim filed by ORIX Financial Services
                         Incorporated. (Turbenson, Mitchell) (Entered: 08/23/2021)
         08/26/2021   72 NOTICE re: of Filing by W.R. Grace & Company . (Attachments: # 1 Exhibit Order
                         entered 08/26/21 in Case No. 01-01139 (AMC) (D. Del. Bankr.))(Balser, Justin)
                         (Entered: 08/26/2021)
         08/27/2021   73 MOTION For the Article III Court to Review the Order Issued by the Article I Court
                         (Doc. 72) re: 72 Notice (Other) by Rune Kraft. (Attachments: # 1 Exhibit August 26,
                         2021 Order from Article I Court)(Kraft, Rune) (Entered: 08/27/2021)
         09/01/2021   74 NOTICE re: Notice of Filing by W.R. Grace & Company of Documents Filed in
                         Bankruptcy Action. (Attachments: # 1 Exhibit EMergency Motion for Order, # 2 Exhibit
                         Motion to Shorten Notice Period)(Balser, Justin) (Entered: 09/01/2021)
         09/01/2021   75 NOTICE re: Notice of Filing by W.R. Grace & Company of Documents Filed in
                         Bankruptcy Action. (Attachments: # 1 Exhibit Notice of Hearing on Emergency Motion
                         for Order Finding Kraft in Contempt)(Balser, Justin) (Entered: 09/01/2021)
         09/01/2021   76 NOTICE re: Corrected Notice of Filing by W.R. Grace & Company re: 74 Notice
                         (Other) of Documents Filed in Bankruptcy Action. (Attachments: # 1 Exhibit Notice of
                         Hearing on Emergency Motion for Order Finding Kraft in Contempt)(Balser, Justin)
                         (Entered: 09/01/2021)



                                              PACER Service Center
                                                  Transaction Receipt
                                                    09/03/2021 06:49:47
                             PACER                               Client
                                          sheikh4689:3437018:0
                             Login:                              Code:
                                                                             2:21-cv-00575-DJH
                                                                 Search
                             Description: Docket Report                      Start date: 8/15/2021
                                                                 Criteria:
                                                                             End date: 9/3/2021
                             Billable
                                          5                      Cost:       0.50
                             Pages:




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